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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    UTAH PHYSICIANS FOR A HEALTHY                        MEMORANDUM DECISION AND
    ENVIRONMENT, INC.,                                   ORDER GRANTING PLAINTIFF’S
                                                         MOTION FOR FEES AND BILL OF
             Plaintiff,                                            COSTS

    v.                                                        Case No. 2:17-cv-00032-RJS

    DIESEL POWER GEAR, LLC, et al.,                           Chief Judge Robert J. Shelby

             Defendants.


           Following a four-day bench trial, the court entered judgment in favor of Plaintiff

Physicians for a Healthy Environment, Inc. (UPHE) and against Defendants Diesel Power Gear,

B&W Auto, David Sparks, Joshua Stuart, and Keaton Hoskins (collectively, Defendants).1

UPHE has now filed a Motion for Costs and Fees2 and a Bill of Costs.3 For the reasons

explained below, the court GRANTS IN PART the Motion4 and Bill of Costs.5

                                           BACKGROUND

           Before filing its Complaint, UPHE’s attorneys conducted legal and factual research,

including the purchase and emission testing of one of Defendants’ illegally modified diesel

trucks.6 UPHE also sent Defendants two notice letters of the impending lawsuit.7




1
    See Dkt. 169 (Judgment).
2
    See Dkt. 176.
3
    See Dkt. 228.
4
    Dkt. 176.
5
    Dkt. 228.
6
    Dkt. 176 at 2.
7
    Id.

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           In January 2017, UPHE filed its Complaint, beginning its citizen suit to enforce the Clean

Air Act’s (CAA) emission standards for moving sources and Utah’s state implementation plan

(Utah’s SIP).8 UPHE originally brought three causes of action9 against Defendants but later

amended its Complaint to include twenty-five causes of action.10 Those causes of action fit in

two categories: CAA violations and Utah’s SIP violations.11 Specifically, UPHE alleged

Defendants violated the CAA by: (1) removing or rendering inoperative federally-required

emission control systems in diesel trucks; (2) installing parts or components in diesel trucks that

bypass, defeat, or render inoperative federally-required emission control systems; and (3)

offering to sell or selling defeat parts.12 UPHE alleged Defendants violated Utah’s SIP by: (1)

removing or making inoperative the federally-required emission control system, device, or any

part thereof; and (2) owning or operating vehicles with disabled emission-control systems.13

UPHE requested declaratory relief, injunctive relief, assessment of civil penalties, and attorney

fees.14

           The parties engaged in extensive discovery and motion practice throughout the

litigation.15 UPHE conducted written discovery, a site inspection of Defendants’ facilities, and

depositions of each Defendant and several owners of Defendants’ illegally modified diesel




8
    See Dkt. 2 (Complaint).
9
    Id. ¶¶ 133–152.
10
     Dkt. 49 (Amended Complaint) ¶¶ 321–527.
11
     See Dkt. 168 (Bench Trial Order) at 2.
12
     Id.
13
     Id.
14
     Id.
15
     See Dkt. 176 at 2.

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trucks.16 Defendants filed two motions to dismiss and one motion for summary judgment.17

UPHE filed five motions for partial summary judgment and a motion for a preliminary

injunction.18 Although the parties stipulated to the resolution of some of these motions, many

were resolved after extensive briefing and argument.19 The parties also engaged in various

settlement discussions, formal and informal, throughout the litigation.20 When those settlement

attempts failed, the court held a four-day bench trial in November 2019.21

            On March 6, 2020, the court entered its Bench Trial Order, finding Defendants had

violated several provisions of the CAA and Utah’s SIP.22 The court held Defendants liable for

those violations in the total amount of $851,451 and enjoined Defendants from further violating

the CAA and Utah’s SIP.23 The court subsequently entered judgment in favor of UPHE and

against Defendants consistent with the Bench Trial Order.24 Under the judgment, UPHE “is

entitled to costs of litigation, including reasonable attorney fees and expert witness fees under 42

U.S.C. § 7604(d).”25




16
     Id.
17
     Dkt. 168 (Bench Trial Order) at 3–4.
18
     Id.
19
     Id.
20
     Dkt. 176 at 2.
21
     Id.
22
     See Dkt. 168 (Bench Trial Order).
23
     Id. at 57–58.
24
     See Dkt. 169 (Judgment).
25
     Id. at 2.

                                                   3
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           UPHE filed its Motion for Costs and Fees in May 2020.26 After the court ordered it to do

so,27 UPHE filed its Bill of Costs in October 2020.28 In total, UPHE seeks an award of

$1,460,766.85, consisting of $1,376,236.50 in attorney fees, $7,132.00 in paralegal fees,

$67,910.35 in costs and expenses, and $9,487.50 for fees incurred obtaining an expert’s opinion

that the fees and costs are reasonable.29 Defendants oppose the Motion and the Bill of Costs.30

                                               LEGAL STANDARD

           “It is the general rule in the United States that in the absence of legislation providing

otherwise, litigants must pay their own attorney’s fees.”31 Under § 7604(d) of the CAA, “[t]he

court . . . may award costs of litigation (including reasonable attorney and expert witness fees) to

any party, whenever the court determines such award is appropriate.”32 The Supreme Court

instructs courts to apply this provision by “follow[ing] the principles and case law governing the

award of such fees under 42 U.S.C. § 1988, which provides that . . . ‘the court, in its discretion,

may allow the prevailing party . . . a reasonable attorney’s fee as part of the costs.’”33

Accordingly, the court has discretion to award UPHE its attorney fees and costs if (1) it is the

prevailing party, and (2) the fees and costs are reasonable.34




26
     See Dkt. 176.
27
     See Dkt. 227.
28
     See Dkt. 228.
29
     Dkt. 176 at 9.
30
     See Dkt. 180.
31
     See Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 415 (1978) (citation omitted).
32
     42 U.S.C. § 7604(d).
33
     Pa. v. Del. Valley Citizens’ Council for Clean Air, 483 U.S. 711, 713 n.1 (1987) (citation omitted).
34
  See Robinson v. City of Edmond, 160 F.3d 1275, 1280 (10th Cir. 1998) (“In any fee request under § 1988(b), a
claimant must prove two elements: (1) that the claimant was the ‘prevailing party’ in the proceeding; and (2) that the
claimant’s fee request is ‘reasonable.’”) (citation omitted).

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                                                    ANALYSIS

            The court limits its analysis to whether UPHE’s requested fees and costs are reasonable

because there is no dispute that UPHE is the prevailing party.35 For the reasons described below,

the court awards UPHE $897,984.50 in attorney and paralegal36 fees, and $30,617.73 in costs

and expenses.

     I.     Attorney Fees and Paralegal Fees

            Whether the court is awarding fees for attorneys or paralegals, the standard is the same:

the fees must be reasonable.37 The court “determine[s] what fee is reasonable by first calculating

the lodestar—the total number of hours reasonably expended multiplied by a reasonable hourly

rate—and then adjust[s] the lodestar upward or downward to account for the particularities of the

suit and its outcome.”38 The prevailing party has the “burden of showing that the claimed rate

and number of hours are reasonable.”39 If that burden is met, “the resulting product is presumed

to be the reasonable fee.”40

            The court’s analysis below proceeds in two parts. First, it calculates the lodestar. Next, it

determines whether an upward or downward adjustment of the lodestar is justified.




35
     See Dkt. 180.
36
  The court observes the parties do not define the term “paralegal.” UPHE’s paralegals may more accurately be
called “law clerks,” but the court follows the parties’ example and uses the term “paralegal” broadly in this Order.
37
   See Case v. Unified Sch. Dist. No. 233, Johnson Cty., Kan., 157 F.3d 1243, 1249 (10th Cir. 1998) (“[T]he fees for
attorneys, law clerks, and legal assistants are all determined in the same fashion: multiplying reasonable hours by
reasonable rates to reach a ‘lodestar’ amount.”).
38
     Zinna v. Congrove, 680 F.3d 1236, 1242 (10th Cir. 2012) (citation omitted).
39
     Malloy v. Monahan, 73 F.3d 1012, 1018 (10th Cir. 1996) (citation omitted).
40
     Id. (citation omitted).

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                 a. The Lodestar

                           i. Reasonable Hours

            “[T]he first step in calculating the lodestar [is to] determin[e] the number of hours

reasonably spent by counsel for the party seeking fees.”41 The prevailing party’s counsel “has

the burden of proving hours to the district court by submitting meticulous, contemporaneous time

records that reveal, for each lawyer for whom fees are sought, all hours for which compensation

is requested and how those hours were allotted to specific tasks.”42 The court may reduce an

attorney’s proffered hours if the “time records are ‘sloppy and imprecise’ and fail to document

adequately how he or she utilized large blocks of time.”43

            Next, the court “ensure[s] that the winning attorneys have exercised billing judgment.”44

Billing judgment is an “important part of determining the reasonableness of an attorney’s fee”45

and “consists of winnowing hours actually expended down to hours reasonably expended.”46 In

other words, “counsel . . . should make a good-faith effort to exclude from a fee request hours

that are excessive, redundant, or otherwise unnecessary.”47 It generally requires the winning

attorneys to exclude hours billed for non-compensable work, like conducting background

research.48 Indeed, “[h]ours that are not properly billed to one’s client also are not properly




41
     Case, 157 F.3d at 1250 (citation omitted).
42
     Id. (citation omitted).
43
     Id. (quoting Jane L. v. Bangerter, 61 F.3d 1505, 1510 (10th Cir. 1995)).
44
     Id. (quotation marks and citation omitted).
45
     Smith v. Freeman, 921 F.2d 1120, 1122 (10th Cir. 1990).
46
     Praseuth v. Rubbermaid, Inc., 406 F.3d 1245, 1257 (10th Cir. 2005) (citation omitted).
47
     Malloy, 73 F.3d at 1018 (brackets, ellipses, and citation omitted).
48
  See Case, 157 F.3d at 1250; see also N.M. Citizens for Clean Air and Water v. Espanola Mercantile Co., Inc., 72
F.3d 830, 835 (10th Cir. 1996) (“When a lawyer spends time on tasks that are easily delegable to non-professional
assistance, legal service rates are not applicable.”) (brackets and citation omitted).

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billed to one’s adversary.”49 If the prevailing party’s attorneys fail to exercise proper billing

judgment, the “court has a corresponding obligation to exclude hours not ‘reasonably expended’

from the calculation.”50

            Lastly, the court “look[s] at the hours expended on each [properly billed] task to

determine if they are reasonable.”51 The court “approach[es] this reasonableness inquiry much

as a senior partner in a private law firm would review the reports of subordinate attorneys when

billing clients.”52 It also considers the following factors: (1) “the complexity of the case,” (2)

“the number of reasonable strategies pursued,” (3) “the responses necessitated by the

maneuvering of the other side,” and (4) “the potential duplication of services.”53 The court may

reduce the prevailing party’s hours if they include “hours that were unnecessary, irrelevant and

duplicative.”54 Nevertheless, “the overriding consideration [is] whether the attorney’s hours

were ‘necessary’ under the circumstances.”55

            UPHE submits declarations from six attorneys that worked on this case56 and a

declaration from an expert57 to support its requested fee award. UPHE also submits its attorneys’




49
     Hensley v. Eckerhart, 461 U.S. 424, 434 (1983) (citation omitted).
50
     Malloy, 73 F.3d at 1018 (citation omitted).
51
     Case, 157 F.3d at 1250.
52
     Robinson, 160 F.3d at 1281 (quotation marks and citation omitted).
53
     Case, 157 F.3d at 1250 (citation omitted).
54
     Id. (citation omitted).
55
     Robinson, 160 F.3d at 1281.
56
  See Dkt. 176-1 (Zars Decl.), Dkt. 176-2 (Dutton Decl.), Dkt. 176-3 (Hays Decl.), Dkt. 176-4 (Melver Decl.), Dkt.
176-5 (Newman Decl.), Dkt. 176-6 (Barbanell Decl.).
57
     See Dkt. 176-7 (Haley Decl.).

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résumés58 and billing records,59 and the billing records of two paralegals.60 In total, those

attorneys and paralegals represent they worked a total of 3,307 hours on this case.61 UPHE

argues these hours are reasonable and justified “by the quality of the work performed and by the

results obtained.”62

            Defendants disagree, contending UPHE’s proffered hours are unreasonable for various

reasons.63 In short, Defendants’ arguments undermine the adequacy of UPHE’s

billing records and UPHE’s attorneys’ billing judgment. They also argue that a comparison of

the hours billed by the parties shows UPHE’s hours are unreasonable. The court agrees with

many of the issues Defendants raise and reduces UPHE’s hours from 3,307 to 2,128 for the

reasons explained below.

                                  1. The Adequacy of UPHE’s Billing Records

            Defendants argue UPHE’s billing records are inadequate for two reasons: (1) the records

include “block” billing, and (2) the records include incomplete and vague descriptions of the

work billed.64 The court agrees and reduces UPHE’s proffered hours accordingly.

                                           a. Block Billing

            “Block billing” refers to “attorneys recording large blocks of time for tasks without

separating the tasks into individual blocks or elaborating on the amount of time each task



58
  See Dkt. 176-1 (Zars Decl.), Ex. 1; Dkt. 176-2 (Dutton Decl.), Ex. 1; Dkt. 176-3 (Hays Decl.), Ex. 1; Dkt. 176-4
(Melver Decl.), Ex. 1; Dkt. 176-5 (Newman Decl.), Ex. 1; Dkt. 176-6 (Barbanell Decl.), Ex. 1.
59
  See Dkt. 176-1 (Zars Decl.), Ex. 2; Dkt. 176-2 (Dutton Decl.), Ex. 2; Dkt. 176-3 (Hays Decl.), Ex. 2; Dkt. 176-4
(Melver Decl.), Ex. 2; Dkt. 176-5 (Newman Decl.), Ex. 2; Dkt. 176-6 (Barbanell Decl.), Ex. 2.
60
     See Dkt. 176-1 (Zars Decl.), Exs. 4, 5.
61
     Dkt. 176 at 7–8.
62
     Id. at 4.
63
     See Dkt. 180.
64
     Id. at 13–17.

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took.”65 The Tenth Circuit “admonishes attorneys who wish to recover attorneys’ fees not to

utilize the practice of block billing, because block billing does not precisely delineate how hours

were allotted to specific tasks.”66 Block billing “may be strong evidence that a claimed amount

of fees is excessive.”67 Nevertheless, “the decision whether block billing indicates an

unreasonable claim . . . remain[s] with the district court who should . . . exercise its discretion

accordingly.”68

            Defendants argue an “across-the-board reduction” of UPHE’s proffered hours is justified

because all but one of UPHE’s attorneys submitted block-billed records.69 UPHE concedes many

of its attorneys and paralegals block billed70 but disagrees a reduction is warranted because, at least

concerning Attorney Zars, “the total elapsed time is correct, as are his descriptions of the tasks he

performed during that time period.”71 UPHE also relies on its expert’s opinion to support the

reasonableness of its hours.72 The court agrees in part with Defendants.

            The court has carefully reviewed all of UPHE’s billing records and does not doubt the

accuracy of the time and tasks represented. But the block billing raises three serious concerns

about the reasonableness of UPHE’s proffered hours—particularly for Attorney Zars who block

billed at $475 an hour.73 First, the court cannot determine if a reasonable amount of time was


65
     Flying J Inc. v. Comdata Network, Inc., 322 F. App’x 610, 617 (10th Cir. 2009) (unpublished).
66
  Cadena v. Pacesetter Corp., 224 F.3d 1203, 1215 (10th Cir. 2000) (quotation marks, ellipses, and citation
omitted).
67
     Flying J, 322 F. App’x at 617 (citation omitted).
68
     Id. (citation omitted).
69
  Dkt. 180 at 15–16. Defendants are mistaken. Id. at 15. Rather, Paralegal Edwards, Attorney Melver, and
Attorney Newman did not block bill. See Dkt. 176-1 (Zars Decl.), Ex. 5; Dkt. 176-4 (Melver Decl.), Ex. 2; Dkt.
176-5 (Newman Decl.), Ex. 2.
70
     Dkt. 183 at 6–8.
71
     Id. at 7.
72
     Id. at 7–8.
73
     Dkt. 176 at 7.

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spent performing certain tasks. Second, it cannot succinctly exclude hours billed for tasks that

should not have been billed. Third, it cannot distinguish and credit time properly billed at senior

attorney rates versus junior attorney rates. That is, the court cannot determine how many hours

Attorney Zars billed for tasks that should have been delegated to a junior attorney and therefore

awarded at a junior attorney’s hourly rate.

            The court’s concerns are not alleviated by UPHE’s expert witness’s opinion.74 UPHE

hired respected local attorney, George Haley, to offer his opinion on the reasonableness of the

fees.75 While the court agrees with Haley’s opinion that “[t]his was a highly complex case

dealing with obscure provisions of the [CAA] that was vigorously defended” and that it appears

“the legal work that was billed was actually performed,” it must part ways with his conclusion

that “[t]he work performed was reasonable and necessary to adequately prosecute the case.”76

Haley never addresses the block billing or how that practice creates the obvious problem of

preventing an effective review of the amount of time spent on certain tasks. He also never

addresses the obvious problems of UPHE attorneys billing at senior-attorney rates for tasks

better suited to paralegals or junior attorneys, or that should not have been billed at all. As

discussed in detail below, the court excludes a significant number of unreasonable hours from

UPHE’s request.

            Although the court concludes the block billing is problematic, the court does not agree

with Defendants that an “across-the-board reduction” of UPHE’s proffered hours is justified.

This is because some of UPHE’s attorneys and paralegals did not block bill.77 Further, some of



74
     See Dkt. 176-7 (Haley Decl.).
75
     Id. at 2.
76
     Id. at 7.
77
     See Dkt. 176-1 (Zars Decl.), Ex. 5; Dkt. 176-4 (Melver Decl.), Ex. 2; Dkt. 176-5 (Newman Decl.), Ex. 2.

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the block billing is not as problematic as others. The most accurate way to account for the block

billing, therefore, is to consider it in context when reducing UPHE’s proffered hours for the other

reasons explained in this Order.

                                           b. Vague Records

           Defendants argue UPHE’s proffered hours should be reduced because its billing records

include vague entries that prevent the court from determining if the time billed for the tasks was

necessary and reasonable.78 UPHE maintains its records are “sufficiently detailed and

specific.”79 Having reviewed UPHE’s records, the court finds they are generally sufficient to

support the proffered hours because they include descriptions of the tasks performed and the

purpose for those tasks.80 The exception is Paralegal Gallick’s records, which include some

inadequate entries.

           The court reduces Paralegal Gallick’s hours by 73.8 because they are not supported with

sufficient explanations.81 Specifically, he block billed 33.4 hours for “Legal research” over five

days.82 The court excludes these hours because it is unclear how it is reasonable for Paralegal

Gallick, a college student,83 to bill legal research for this many hours without some explanation.

Next, he billed 30.7 hours for “social media analysis” over four days.84 While the court finds


78
     Dkt. 180 at 17.
79
     Dkt. 183 at 6.
80
  Some of the records, like Attorney Dutton’s, would benefit from more precise descriptions. See Dkt. 176-2
(Dutton Decl.), Ex. 2 at 8 (“Call with Reed and Ashley”). Surrounding entries, however, typically provide sufficient
context to the deficient entries. See id. (“Set up call with Reed and Ashley about location of vehicles”). The court
does not exclude hours for these entries.
81
     See Dkt. 176-1 (Zars Decl.), Ex. 4.
82
  Id. at 67. He billed these hours on the following dates: 6/13/2017, 6/14/2017, 6/28/2017, 6/29/2017, and
6/30/2017. Id. Although there are other tasks listed with these entries, the court excludes all hours because the
block billing prevents a more precise accounting. This practice continues throughout this Order.
83
     Dkt. 176-1 (Zars Decl.) ¶ 10.
84
  Dkt. 176-1 (Zars Decl.), Ex. 4 at 67. He billed these hours on the following dates: 7/25/2017, 7/27/2017,
7/28/2017, and 7/31/2017. Id.

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this task likely was necessary, the description does not permit the court to determine whether the

amount of time spent was reasonable. These hours are therefore reduced by 50%, or 15.4.

Lastly, Paralegal Gallick billed 25 hours “studying depositions” over three days.85 The court

excludes these hours because it cannot discern, based on the vague description, if this time was

reasonably spent furthering the case.

           In sum, as explained above, the court reduces UPHE’s proffered hours because its billing

records include some inadequacies.

                                    2. Billing Judgment

           Attorney Zars testifies that his billing judgment consisted of removing the following: “the

time [he] spent opposing Defendants’ alternative motion for a more definite statement,” “State

and County anti-tampering training classes, the limited time [he] spent responding to calls from

the media and, most recently, all of the time spent preparing [this Motion].”86 Defendants argue

this is insufficient and that UPHE’s attorneys did not exercise proper billing judgment.87

Specifically, Defendants identify five categories from UPHE’s records they argue include

excessive hours: (1) time billed before UPHE hired its attorneys (pre-recruitment work); (2) time

billed before the Complaint was filed (pre-filing work); (3) time billed for legal research; (4)

time billed drafting motions for summary judgment; and (5) time billed for traveling.88 As

explained below, the court concludes that UPHE’s hours should be reduced for the reasons

Defendants identify as well as the court’s own billing judgment.




85
     Id. He billed these hours on the following dates: 8/7/2017, 8/8/2017, and 8/9/2017. Id.
86
     Dkt. 176-1 (Zars Decl.) ¶ 7.
87
     Dkt. 180 at 18–23.
88
     Id.

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                                           a. Pre-Recruitment Hours

            “[T]ime spent and expenses incurred prior to client recruitment are generally not assessed

to the client and, therefore, are not appropriately charged to the opposing party.”89 There are

exceptions to this rule, however, “such as when the litigation involves particularly difficult

questions of standing, mootness, or ripeness,” or when “attorneys have done pre-recruitment

work with an advocacy group representing a class.”90

            Defendants argue the hours billed by UPHE’s attorneys before they were retained are

unreasonable.91 UPHE does not attempt to argue either of the exceptions described above apply

and simply maintains its requested fees are reasonable.92 Absent a meaningful response from

UPHE, the court agrees with Defendants and reduces Attorneys Zars’s and Dutton’s hours as

follows.

            According to Attorney Zars’s records, UPHE first contacted him in March 2016.93 Two

months later, he billed time “drafting [a] proposed UPHE retainer.”94 During this period,

Attorney Zars billed approximately 150 hours.95 It is clear some of this time was reasonable and

necessary to further the litigation and, as such, could have been properly billed.96 It is unclear,

however, if a retainer agreement had been signed, which would make this work the type


89
     Case, 157 F.3d at 1251 (brackets, quotation marks, and citation omitted).
90
     Id. (citation omitted).
91
     Dkt. 180 at 19.
92
     See Dkt. 176; Dkt. 183.
93
     See Dkt. 176-1 (Zars Decl.), Ex. 2 at 9 (“Contact from UPHE re: possible diesel defeat enforcement case”).
94
     Id. at 11. UPHE offers no additional details concerning when it hired Attorney Zars.
95
  Defendants repeatedly propose approximations for hours spent by UPHE’s attorneys and paralegals for specific
tasks or time periods—like 150 hours for pre-recruitment work. See Dkt. 180 at 19–20. The court adopts
Defendants’ approximations because UPHE never rebuts them and, based on the court’s review of the billing
records, they appear accurate.
96
   See Dkt. 176-1 (Zars Decl.), Ex. 2 at 9–11 (billing for time communicating with UPHE and performing pre-
litigation tasks like preparing a litigation-strategy memo and locating local counsel).

                                                           13
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ordinarily billed to a client.97 Further, many of the tasks Attorney Zars performed include

background research or clerical tasks that are not appropriately billed at a senior-partner rate.98

Indeed, some tasks should not have been billed at all—for example, time spent negotiating and

drafting a retainer agreement for himself99 and an assistant.100 He also billed a substantial

amount of time purchasing, licensing, storing, and testing a diesel truck that Defendants had

illegally modified.101 As explained in detail below, the court does not find hours billed and

expenses incurred for most of these truck-related tasks to be reasonable and excludes them

accordingly. Thus, the court reduces Attorney Zars’s pre-recruitment hours by 80%, or 120.

            The court reduces Attorney Dutton’s hours by 3.1 for similar reasons. Specifically, her

records show she billed .4 hours when she was first “[c]ontacted by Reed Zars, seeking Utah

counsel in UPHE air pollution case,” and an additional 2.7 hours negotiating, preparing, and

editing her retainer agreement.102 These hours clearly represent work that is not appropriately

billed because they precede any attorney-client relationship and thus would not normally be

charged to a client or, by extension, an adversary. Accordingly, these hours are excluded.




97
  See id. at 11 (“begin drafting retainer for UPHE”; “Continue drafting proposed UPHE retainer, no fees or costs to
be paid, send to Brian and Tim with memo for their review”).
98
  See id. at 9, 11 (“Research into tampering and removal actions”; “research web, collect links and send to UPHE
with memo”; “Most of day researching CAA and CWA cases in law library re: jurisdiction, standing, relief,
continuing violations”).
99
     See id. at 11 (“begin drafting retainer for UPHE”; “Continue drafting proposed UPHE retainer”).
100
      See id. at 10 (“draft CAA research questions for Brittany, send with acceptance of hourly rate”).
101
   See id. at 9–10 (“Confer with Nat re: purchase and transit of truck”; “Continue working with Nat on purchase of
truck; . . . t/c with Nat re: condition of truck, suggest added questions; confer with bank re: transfer of funds to Nat
for purchase, best method for releasing lien and obtaining title, secure cashier’s check for Nat; draft agreement
between me and Nat”; “Discuss with Nat upcoming call with owner of truck”; “confer with Nat purchase of truck,
conditions, costs”; “confer with Nat re: purchase of truck, payment of lien, temp plates”; “Travel GJ to St. George
on bus 5 am start, . . . meet Nat after purchase of truck, travel to Hurricane for temp plates”; “Transfer title to truck
in Laramie, secure insurance, get plates and registration; travel to SGS with Nat, leave off truck, return to Laramie;
review Nat’s invoice and respond; t/c with Brian re: truck purchase and testing, case update”).
102
      Dkt. 176-2 (Dutton Decl.), Ex. 2 at 8.

                                                            14
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                                       b. Pre-Filing Hours

            Defendants argue Attorney Zars billed an excessive number of hours from the time he

was hired to the time the Complaint was filed—approximately May 2016 to January 2017.103

They also argue he billed an unreasonable amount drafting the Amended Complaint.104 UPHE

offers no specific reply to Defendants’ arguments.105 Nevertheless, the court disagrees with

Defendants.

            Attorney Zars billed approximately 369 hours from the time UPHE hired him to the time

he filed the Complaint.106 Of those hours, 121 were spent preparing and drafting the Complaint,

which Defendants argue is unreasonable.107 Specifically, Defendants contend the Complaint

violates the mandate in Federal Rule of Civil Procedure 8 that pleadings be a “short plain

statement of entitlement to relief” because it “is a . . . sociological discourse . . . about the state of

the environment, what bad actors Defendants portray on television and social media to market

products, and conclusory allegations.”108 But Defendants mischaracterize the Complaint.

            The Complaint is forty-five pages long, consists of over 152 paragraphs, and includes

eleven exhibits.109 Although it contains some background facts concerning air pollution, the

effects of air pollution on people’s health, and diesel engines’ contribution to air pollution, it is

not a sociological discourse. Rather, the Complaint included relevant background information



103
      Dkt. 180 at 19–20.
104
      Id.
105
      See Dkt. 183.
106
    Dkt. 180 at 19. Defendants approximate Attorney Zars’s “total hours charged between initial client contact and
filing of complaint is in excess of 519 hours.” Id. Because the court has addressed 150 of those hours,
approximately 369 hours remain for the period between the hiring of Attorney Zars and the filing of the Complaint.
107
      Id.
108
      Id.
109
      See Dkt. 2 (Complaint).

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and specific allegations concerning Defendants’ violations of the CAA and Utah’s SIP, none of

which constitute an attempt to paint Defendants as “bad actors.”110

            More importantly, the pre-filing time UPHE’s attorneys billed is generally justified for

three reasons. First, this case involved discrete and complex issues under the CAA that appeared

to present issues of first impression in this Circuit and nationwide.111 Second, the large number

of hours billed was caused, in significant part, by the extent of Defendants’ wrongdoing. Indeed,

UPHE alleged and then proved Defendants had committed hundreds of discrete CAA violations

over several years.112 Third, based on Defendants’ conduct throughout the litigation, “there is

persuasive evidence that [UPHE’s] ability to gather information pre-filing may well have been

easier and less expensive than it would have been post-filing.”113 Such evidence includes

Defendants unreasonably resisting discovery114 and engaging in questionable litigation tactics.115

            For similar reasons, the court does not reduce the approximately 96 hours spent preparing

and drafting the Amended Complaint.116 The court ordered UPHE to amend its Complaint

because it “improperly jumble[d] everyone and everything together” by making allegations

against “Defendants” collectively rather than individually.117 UPHE filed its Amended




110
      See id.
111
   See Dkt. 176-7 (Haley Decl.) at 7 (“The legal theory was novel. I believe it was the first of its kind, certainly in
Utah, and probably the U.S.”).
112
      See Dkt. 168 (Bench Trial Order) at 10–24.
113
      David C. v. Leavitt, 900 F. Supp. 1547, 1556–57 (D. Utah 1995).
114
  For example, after attempting to settle the dispute without court intervention, UPHE filed a motion to compel
Defendants to supplement their responses to certain discovery requests. See Dkt. 86. Defendants then opposed the
motion but later agreed to supplement their discovery responses. See Dkt. 89; Dkt. 91.
115
   See Dkt. 183 at 3–4 (identifying ineffective, but time consuming, litigation tactics employed by Defendants and
various times when the court questioned the integrity of Defendants’ arguments).
116
      See Dkt. 180 at 20.
117
      Dkt. 46 at 2.

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Complaint, which spanned 137 pages, over 527 paragraphs, and nine exhibits.118 Despite its

length, the Amended Complaint is not, as Defendants’ contend, a “treatise.”119 Instead, it

specified the CAA and Utah’s SIP violations each individual Defendant had committed.120 Its

allegations were precise and addressed hundreds of violations that occurred over several years.

Accordingly, the court generally finds no fault with the time Attorney Zars billed preparing the

Amended Complaint.

            In sum, contrary to Defendants’ arguments, no reduction of UPHE’s pre-filing hours is

justified based on the number of hours alone. But, in reviewing UPHE’s billing records for pre-

filing work, it is evident that significant reductions are justified for block-billed entries, duplicate

hours, and non-billable work. The court accounts for these deficiencies below when it exercises

its billing judgment to reduce UPHE’s proffered hours.

                                         c. Hours for Research

            Defendants argue the court should exclude or substantially reduce the hours UPHE’s

attorneys and paralegals billed for factual and legal research.121 Specifically, they argue the

sheer volume of time spent performing research by UPHE’s attorneys and paralegals is

unreasonable.122 To support their argument, Defendants contend UPHE’s records show over 800

hours were billed for research-related tasks.123 They maintain 322 hours were billed by two

paralegals and three attorneys who assisted Attorney Zars with the case, and over 500 hours were




118
      See Dkt. 49 (Amended Complaint).
119
      Dkt. 180 at 20.
120
      See Dkt. 49 (Amended Complaint).
121
      Dkt. 180 at 20–21.
122
      Id.
123
      Id. at 21.

                                                    17
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billed by Attorney Zars.124 UPHE offers no rebuttal to Defendants’ argument other than to

generally maintain that its hours are reasonable.125 The court concludes that a reduction is

necessary.

            This case presented numerous novel legal issues and an overwhelming number of CAA

violations by Defendants. Much of the legal research appears to be directed at understanding

these unique legal issues. Further, UPHE’s attorneys had to research, organize, and prove

hundreds of CAA violations. The volume of the violations UPHE proved at trial weighs in favor

of the reasonableness of the hours spent researching and organizing this information for the

court. Nevertheless, the hours UPHE’s legal team billed for research strikes the court as

unreasonable. Without any reductions, the total for this time equals $302,198.50.126 No

reasonable attorney would submit such a bill to a client without reducing the amount for general

inefficiencies and the specific deficiencies identified below. Thus, while balancing the scope

and complexity of this case, the court reduces UPHE’s proffered hours as follows.

            First, the court reduces Attorney Zars’s 500 hours performing legal and factual research

by 40%, or 200 hours. His records show he billed time reviewing, discussing, and coordinating

research with co-counsel and paralegals,127 reporting to and coordinating research efforts with




124
      Id.
125
      See Dkt. 183.
126
   This total is based on 12.5 hours for Paralegal Edwards, 97.4 hours for Paralegal Gallick, 9 hours for Attorney
Barbanell, 153.1 hours for Attorney Melver, 50.3 hours for Attorney Newman, and 500 hours for Attorney Zars.
See Dkt. 180 at 20–21.
127
   See Dkt. 176-1 (Zars Decl.), Ex. 2 at 14 (“review emails re: law student Will Edwards providing legal research on
case”); See id. at 16 (“review Will’s request for equity recall research clarification”); id. at 17 (“research, draft and
send SIP research memo to Will”); id at 18 (“draft and send research questions to Melissa re: suits against our
defendants in state court”; “confer with researchers Melissa and Will”); id. at 39 (“Review intern research on
standing, research separate Utah non-attainment airsheds, return thoughts to intern”).

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UPHE,128 and performing research to gain a deeper understanding of the overall landscape of the

lawsuit.129 Although some of this work was reasonable and necessary, some was duplicative and

unnecessary. Further, Attorney Zars—an experienced litigator—charged an hourly rate of $475

performing these research and research-related tasks. The sheer volume of hours for these tasks

at that rate is unreasonable and indicates overbilling on his part, particularly because he block-

billed nearly all of his time entries.

           Second, the court reduces Attorney Melver’s 153.1 hours performing legal and factual

research by 25%, or 38.3. The volume of hours Attorney Melver billed for research-related tasks

is unreasonable given her approximately seven years of experience with environmental law,

including CAA litigation, and the issues she researched.130 For example, she billed forty-three

hours researching and drafting a memo on “CAA case law on assessing penalty factors,”131

which should not have taken that long for an attorney with her experience.

           Third, the court reduces Paralegal Gallick’s 88.2 hours132 performing legal and factual

research by 50%, or 44.1. UPHE never reduces Paralegal Gallick’s hours for general

inefficiencies that are likely to result when utilizing someone inexperienced in legal research,

like a college student. Accordingly, half of the hours Paralegal Gallick spent conducting

research are excluded because they are excessive for the type of research he conducted, which



128
   See id. at 17 (“Research diesel exhaust PM concentrations found, and correlated health impacts, send with email
to UPHE for intern research”).
129
   See id. at 28 (“research changes to CAA in law library, summarize for Glen”); id. at 32 (“work at law library
researching CAA amendments”; “Return to law library for added research on CAA legis history, changes between
1970-77-90, review Senate, House, Joint Committee Reports”).
  See Dkt. 176-4 (Melver Decl.), Ex. 1 at 5 (showing Attorney Melver has been employed as a “Public Interest
130

Environmental Attorney at Law” since June 2012).
131
      Dkt. 176-4 (Melver Decl.), Ex. 2 at 8.
132
   After accounting for the deduction to Paralegal Gallick’s hours based on his inadequate records, there remain
approximately 88.2 hours he billed conducting research. See Dkt. 176-1 (Zars Decl.), Ex. 4.

                                                        19
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includes “[l]egal research on off road vehicles,” “legal research on changes to CAA,” “EPA

tamper enforcement policy research,” and “[l]egal research on legislative histories.”133

            Having reviewed the research-related hours for Attorney Barbanell, Attorney Newman,

and Paralegal Edwards, the court concludes they are reasonable.

            In sum, the court reduces UPHE’s proffered hours by 282.4, which accounts for

unreasonable and excessive hours billed for legal and factual research.

                                           d. Hours Drafting Motions for Summary Judgment

            Defendants argue Attorney Zars billed an unreasonable amount—approximately 300

hours—drafting and revising five separate motions for partial summary judgment and reply

memoranda.134 Specifically, they argue “the matters should [have] been more efficiently

addressed in a single motion . . . instead of five separate motions.”135 Again, UPHE offers no

specific response to Defendants’ argument.136 The court disagrees that UPHE should have

addressed the matters in a single motion, but concludes the total billed for the motions is

excessive.

            The court does not fault UPHE for submitting five separate motions for partial summary

judgment because the motions were sufficiently distinct to justify their separate submissions.137

UPHE’s first motion addressed standing and relied on evidence of the injuries Defendants caused

UPHE’s members.138 The next three motions addressed individual Defendants’ liability for




133
      Id.
134
      Dkt. 180 at 22.
135
      Id.
136
      See Dkt. 183.
137
      See Dkt. 58, Dkt. 64, Dkt. 81, Dkt. 108, Dkt. 109.
138
      See Dkt. 58.

                                                           20
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violating the CAA and relied on evidence of specific violations unique to the Defendant.139 The

final motion addressed the issue of joint liability for the violations between Defendants Diesel

Power Gear and B&W Auto.140

            Nevertheless, the court reduces Attorney Zars’s hours by 100 because 300 hours is

excessive absent some explanation from UPHE. The last four motions involved legal issues or

evidence that overlapped. This should have reduced the number of hours required to prepare

these motions even though they addressed novel legal issues. By offering no explanation for its

hours in light of the overlapping legal issues and evidence, UPHE has not met its burden to

demonstrate these hours are reasonable.

                                           e. Hours for Traveling

            Attorney Zars is from Laramie, Wyoming, and thus had to travel to Salt Lake City, Utah

to meet with his client, conduct discovery, and attend court.141 He also traveled to Utah and

Colorado for activities related to purchasing, testing, and storing a diesel truck Defendants

illegally modified.142 Defendants argue Attorney Zars’s hours should be reduced because the

trips he took to meet with his client and concerning the diesel truck were unnecessary.143

Specifically, they argue the seven trips Attorney Zars took during the pre-filing stage of

litigation—approximately May 2016 to January 2017—were excessive.144 The court agrees that

Attorney Zars’s hours should be reduced by the time he spent traveling, but reduces those hours




139
      See Dkt. 64, Dkt. 81, Dkt. 108.
140
      See Dkt. 109.
141
      Dkt. 183 at 4–5; see Dkt. 176-1 (Zars Decl.), Ex. 1.
142
      Dkt. 180 at 22.
143
      Id. at 19, 22.
144
      Id. at 22.

                                                             21
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under the Tenth Circuit’s standard for excluding travel-related expenses. The court also reduces

the hours for Attorney Hays—who is from Bellevue, Washington145—under the same standard.

            In Ramos v. Lamm, the Tenth Circuit defined when it is appropriate to grant travel-related

fees under § 1988:

            Items that are normally itemized and billed in addition to the hourly rate should be
            included in fee allowances in civil rights cases if reasonable in amount. However,
            because there is no need to employ counsel from outside the area in most cases, we
            do not think travel expenses for such counsel between their offices and the city in
            which the litigation is conducted should be reimbursed. Departure from this rule
            should be made in unusual cases only.146

The court applies this standard to travel-related hours billed by out-of-state counsel because it is

unreasonable for a prevailing party that could have obtained in-state representation to charge its

opponent for time incurred strictly because they chose to hire out-of-state counsel.

            Despite this being a novel and complex case, it is not “so unusual or requires such special

skills that it could not be handled by reasonably competent trial lawyers in [Salt Lake City].”147

Indeed, UPHE’s expert testifies there are attorneys in Salt Lake City capable of trying this

case.148 Thus, the court excludes hours billed by Attorney Zars and Hays traveling from their

hometowns to Salt Lake City for this litigation.

            After accounting for the hours already deducted from Attorney Zars above, the court

reduces his hours by an additional 5%, or 107. Attorney Zars’s billing records show he regularly




145
      See Dkt. 176-3 (Hays Decl.), Ex. 1.
146
  Ramos v. Lamm, 713 F.2d 546, 559 (10th Cir. 1983), overruled on other grounds, Pa. v. Del. Valley Citizens’
Council for Clean Air, 483 U.S. 711, 725 (1987).
147
      Id. at 555.
148
    See Dkt. 176-7 (Haley Decl.) at 6 (“I conducted an informal survey of attorneys in my firm who are Clean Air
Act specialists and spoke with some of my colleagues in SLC who do Clean Air Act work.”); id. at 7 (“There are
only a handful of lawyers in the SLC market who practice Clean Air Act law and even fewer who are willing to
litigate these difficult legal issues.”).

                                                        22
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traveled from Wyoming to Utah.149 For example, he traveled to Utah to meet with UPHE,150

purchase and inspect the diesel truck,151 conduct discovery,152 file the Complaint and arrange for

its service on Defendants,153 meet with witnesses,154 attend court hearings and trial,155 and attend

mediation and settlement discussions.156 Many of these activities were necessary, but the court

excludes the time Attorney Zars billed for travel because it is not reasonable for Defendants to

pay for this time when UPHE could have hired local counsel that would not have needed to bill

these hours.

            The court reduces Attorney Hays’s hours for similar reasons. Specifically, the court

reduces Attorney Hays’s hours by 4.7, which are the hours he spent traveling to Utah to

participate in a pretrial conference and trial.157

                                            f. The Court’s Billing Judgment

            As explained above, when a party’s attorneys do not exercise proper billing judgment, the

court is obligated to exclude unreasonable hours from the fee request.158 While reviewing the

records from UPHE, it was evident that many of the proffered hours were for non-billable




149
      See Dkt. 176-1 (Zars Decl.), Ex. 2.
150
      Id. at 9, 14.
151
      Id. at 10, 12, 24, 35, 53, 55.
152
      Id. at 26, 31, 32, 35.
153
      Id. at 20.
154
      Id. at 53.
155
      Id. at 39, 43, 44, 48, 57, 58.
156
      Id. at 46, 50.
157
   Dkt. 176-3 (Hays Decl.), Ex. 2 at 12, 14. Attorney Hays traveled to Utah two times for trial. See id. at 13–14.
The court does not reduce Attorney Hays’s hours for the trip from Washington to Utah for the first part of trial
because his records show he worked while he traveled. Id. at 13 (“Travel to SLC, but while on plane and afterward,
prepare HeavyD questioning; confer w/ RZ.”).
158
      Malloy, 73 F.3d at 1018 (citation omitted).

                                                       23
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activities, duplicative, or otherwise unreasonable. Accordingly, the court exercises its own

billing judgment to exclude the following unreasonable hours.

            First, the court reduces Attorney Zars’s hours that remain after the reductions addressed

above (2,025.9) by 20%, or 405 hours, because Attorney Zars repeatedly billed for significant

amounts of time that should not have been billed or are not properly billed at a senior-attorney

rate. For example, Attorney Zars improperly billed hours revising Attorney Dutton’s retainer

agreement;159 responding to a request from Paralegal Edwards to assist with the case;160 editing a

UPHE newsletter;161 formatting documents;162 coordinating travel plans and preparing for

travel;163 general office tasks;164 communicating with “interested parties”;165 and drafting a “long

memo” to Attorney Dutton “thanking her for all her work and care.”166 Examples of billable




159
   Dkt. 176-1 (Zars Decl.), Ex. 2 at 13 (“Review and revise MD retainer, payment of flat rate, virtual office, etc.,
confer with MD”; “Review and revise MD retainer, email to MD with memo; continue work on notice letter”).
160
      Id. at 15 (“respond to request by law student (Will Edwards) to assist with legal research”).
161
   Id. at 18 (“Review and correct facts on case in draft UPHE newsletter; complete first draft of complaint and send
to MD for review”).
162
    See id. at 13 (“Review, download and convert to pdf Ds illegal parts page”); Id. at 19 (“. . . create pdf files . . .”);
Id. at 24 (“. . . format to pdf and serve on Janet in the evening”).
163
   See id. at 25 (“arrange for travel and tasks for summer intern to work on discovery (Glen Gallick)”); Id. at 26
(“send background dox and memo to Glen, confirm his arrival to assist in discovery in SLC”; “pick up Glen at
airport”); Id. at 46 (“. . . prepare for travel to SLC; fly to SLC, check into motel . . .”); Id. at 56 (“load car with
printer, fax, binders, office supplies, trial and motion binders, food cooler”); Id. at 58 (“Make SLC reservations for
attorneys . . .”).
164
   See id. at 59 (“Receive and pay transcript invoices”); Id. at 19 (“. . . make copies . . .”); Id. at 20 (“Arrange
service with constable, to federal court, file complaint, pro hac vice, receive summonses, scan all stamped dox to
pdf, get to constable, confer with MD . . .”).
165
      Id. at 43, 60.
166
      Id. at 29.

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work Attorney Zars should have assigned to a junior attorney or paralegal include: checking case

citations,167 reviewing and scanning documents,168 and organizing documents.169

            In short, Attorney Zars’s records show he indiscriminately billed for every minute he

worked on this case from its inception and did not exercise proper billing judgment when he

submitted his records for a fee award. Because he also block-billed nearly all of his time, it is

impossible for the court to determine whether the time he spent performing certain tasks was

reasonable. Accordingly, the court reduces his hours an additional 20%.

            Second, the court reduces Attorney Dutton’s hours that remain after the reductions

addressed above (92) by 50%, or 46 hours. The court does not reduce Attorney Dutton’s hours

because of her block billing, which is minimal. Instead, this reduction is because UPHE has not

shown Attorney Dutton’s work was “actually necessary or essential to proper representation

rather than merely comforting or helpful.”170 UPHE offers no explanation for Attorney Dutton’s

necessity, leaving the court to make its assessment from her billing records alone. Those

records—and the court’s docket—show she acted as local counsel, which the court credits her

for.171 But the remainder of her work does not appear necessary without further explanation.

            A majority of Attorney Dutton’s time was billed for short calls or discussions with

Attorney Zars about the case, indicating she acted primarily as a sounding-board.172 Because of

the clear disparity in experience between the experienced Attorney Zars and the comparatively


167
      See id. at 22 (“. . . check cites . . .”); Id. at 32 (“. . . shepardize all cases, print out and review”).
168
      See id. at 26 (“. . . continue dox review and scanning . . .”).
169
   See id. at 27 (“Work with Glen organizing OBD and visual inspection pictures and documents, multiple
discussions with Chuck, review, work on organizing scans”).
170
      Case, 157 F.3d at 1252 (citation omitted).
171
   See Dkt. 3; Dkt. 176-2 (Dutton Decl.), Ex. 2 at 8 (“Contacted by Reed Zars, seeking Utah counsel in UPHE air
pollution case).
172
      See Dkt. 176-2 (Dutton Decl.), Ex. 2 at 8–10.

                                                                  25
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inexperienced Attorney Dutton, it was not necessary for Attorney Zars to utilize Attorney Dutton

in this manner. The rest of her time was billed reviewing various documents from Attorney Zars,

coordinating meetings, organizing documents, and conducting some factual research.173 She also

improperly billed hours discussing her need to withdraw from the case with Attorney Zars, and

preparing and filing her notice of withdrawal.174 In short, the court reduces Attorney Dutton’s

hours because her records do not show her work was reasonably necessary, and she billed for

non-compensable work.

            Third, the court reduces Paralegal Gallick’s hours that remain after the reductions

addressed above (148.1) by 15%, or 37 hours. This is because Paralegal Gallick block billed

large periods of time, preventing the court from determining if the time spent on these activities

was reasonable. For example, he block billed eight hours “[r]ead[ing] through [the] amended

complaint” and “work[ing] on [a] parts list.”175 On another occasion, he billed just over ten

hours for the following: “OCR for PDF files, managing and interpreting OBD data, legal

research on off road vehicles.”176 Later, he billed seven and a half hours “[r]ead[ing] through

deposition notices” and “communicat[ing] with and prepar[ing] documents for Chuck.”177

            In sum, the court has reduced UPHE’s proffered hours in the amounts described above

because its attorneys did not exercise proper billing judgment.




173
      See id.
174
   See id. at 10 (billing for “call with Reed—new job, difficult to continue as counsel”; “work on notice of
withdrawal of counsel”; and “Review notice of withdrawal from Reed, ok, filed with court”).
175
      Dkt. 176-1 (Zars Decl.), Ex. 4 at 67.
176
      Id.
177
      Id.

                                                         26
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                                 3. Hours Comparison

            “Evidence of the hours expended by opposing counsel may be helpful in determining

whether time expended on a case was reasonable, but the opponent’s time is not an ‘immutable

yardstick of reasonableness.’”178 Defendants argue UPHE’s proffered hours of 3,307 are

unreasonable when compared to the hours Defendants’ attorneys billed, 1,348.93.179 UPHE

maintains its attorneys’ hours were reasonable because they “were driven by Defendants’

rejected defenses and time-consuming tactics.”180 The court agrees with UPHE.

            “The Tenth Circuit has long accepted the proposition that one of the factors useful in

evaluating the reasonableness of the number of attorney hours in a fee request is the responses

necessitated by the maneuvering of the other side.”181 UPHE identifies multiple specific

instances when Defendants engaged in unreasonable and unnecessary time-consuming tactics.182

One example warrants mentioning. Before trial, Defendants’ counsel refused to accept trial

subpoenas on Defendant Sparks’s behalf.183 UPHE then served Sparks with a subpoena to

appear and testify at trial.184 Despite having been served with a subpoena, Sparks failed to

appear and testify on November 5, 2019.185 Any competent attorney would have known this




178
      Shaw v. AAA Eng’g & Drafting, Inc., 213 F.3d 538, 543 (10th Cir. 2000) (quoting Robinson, 160 F.3d at 1284).
179
      See Dkt. 180 at 12.
180
      Dkt. 183 at 3.
181
      Robinson, 160 F.3d at 1284 (quotation marks and citation omitted).
182
      See Dkt. 183 at 3–4.
183
      See Dkt. 149.
184
      See id.
185
      See id.

                                                          27
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kind of behavior results in higher fees for the opposing party, and Defendants cannot now

complain about the consequences of their actions.186

            In addition, the disparity in hours between UPHE and Defendants does not justify

reducing UPHE’s proffered hours because UPHE had the burden of proof as the plaintiff.187

This required UPHE’s legal team to identify and prove each of Defendants’ violations, of which

there were hundreds. Defendants had no corresponding burden and were free to defend against

UPHE’s claims however they thought best. “The fact that it cost more to win the day than it did

to lose does not indicate that ‘more’ was either unreasonable or excessive.”188 Rather, UPHE’s

success implies that it “correctly invested the necessary litigation resources.”189

            Lastly, Defendants do not support their hours with billing records so the court can

compare the parties’ work.190 Without this information, the court cannot determine whether the

disparity in hours is justified. Nevertheless, the court has considerably reduced UPHE’s

proffered hours for the reasons explained above, which reduces the difference between the

parties’ hours. The record and the court’s own involvement in this time-consuming and

complicated case demonstrate UPHE’s 2,128 remaining hours are reasonable. Each of UPHE’s

allowable attorneys’ and paralegals’ hours are as follows:




186
   See Henson v. Columbus Bank & Tr. Co., 770 F.2d 1566, 1575 (11th Cir. 1985) (“While [defendant] is entitled to
contest vigorously [plaintiff’s] claims, once it does so it cannot then complain that the fees award should be less than
claimed because the case could have been tried with less resources and with fewer hours expended.”).
187
   See Shaw, 213 F.3d at 543 (concluding the district court did not abuse its discretion “in finding counsel’s hours
reasonable in spite of the contrast with defense counsel’s time” when “[t]he district court had first-hand knowledge
of the complexity of the case and the voluminous number of documents [plaintiff], who had the burden of proof,
presented at trial.”).
188
      Baugh v. Allied Prof’ls Ins. Co., 2020 WL 1308681, at *3 (D. Utah Mar. 19, 2020) (citation omitted).
189
      Id. (citation omitted).
190
      See Dkt. 180.

                                                           28
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 Name                             Proffered Hours             Reduced Hours             Reasonable Hours
 Attorney Zars                          2,552.9                     932                       1,620.9
 Attorney Dutton                          95.1                      49.1                         46
 Attorney Newman                          50.3                        0                         50.3
 Attorney Hays                           168.1                       4.7                       163.4
 Attorney Melver                         153.1                      38.3                       114.8
 Attorney Barbanell                        9                          0                           9
 Paralegal Gallick                        266                      154.9                       111.1
 Paralegal Edwards                        12.5                        0                         12.5

                         ii. Reasonable Rates

           Having determined the reasonable hours for UPHE’s attorneys and paralegals, the court

now turns to the issue of reasonable rates to finish calculating the lodestar. “As mentioned

above, the second half of calculating an appropriate fee award is multiplying the hours by a

reasonable rate.”191 The court has discretion in setting reasonable rates, but the rates “must

reflect the prevailing market rates in the relevant community,”192 which is the “area in which the

court sits.”193 In other words, “[a] reasonable rate is generally the going rate for an attorney of

the same experience level, in the same community, for the same type of work.”194 What is

reasonable may be affected by certain factors, including “the lawyer’s skill and experience,”

whether the attorney is working outside his or her field of expertise, and “[t]he quality of the

lawyer’s performance in the case.”195 And like the burden of showing its hours are reasonable,

“the burden is on the fee applicant to produce satisfactory evidence—in addition to the attorney’s




191
      Malloy, 73 F.3d at 1018.
192
      Jane L., 61 F.3d at 1510 (quotation marks and citation omitted).
193
      Ramos, 713 F.2d at 555.
194
      Parker v. CitiMortgage, Inc., 987 F. Supp. 2d 1224, 1229 (D. Utah 2013) (citation omitted).
195
      Ramos, 713 F.2d at 555.

                                                           29
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own affidavits—that the requested rates are in line with those prevailing in the community for

similar services.”196

            UPHE argues the reasonable rates for its attorneys and paralegals are:197

                               Name                     Proffered Hourly Rates
                               Attorney Zars                      $475
                               Attorney Dutton                    $240
                               Attorney Newman                    $225
                               Attorney Hays                      $475
                               Attorney Melver                    $305
                               Attorney Barbanell                 $325
                               Paralegal Gallick                   $20
                               Paralegal Edwards                  $145

It argues these rates are reasonable because they are consistent with legal rates in Salt Lake City

as shown by its expert’s testimony.198

            Defendants argue UPHE’s proffered rates are unreasonable because they are not

consistent with Salt Lake City’s prevailing market rates.199 Next, they argue the court should

apply out-of-state rates to Attorney Zars.200 Lastly, they offer numerous reasons why the specific

rates for each of UPHE’s attorneys and paralegals are unreasonable.201 The court addresses each

argument below.

                                  1. Prevailing Market Rates

            While the court may substitute its own reasoning “when awarding hours to prevailing

attorneys because it knows best the time which reasonably should have been spent on the case,”




196
      Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984).
197
      See Dkt. 176 at 7–8.
198
      Id. at 6–9.
199
      See Dkt. 180 at 23–25.
200
      See id. at 25.
201
      See id. at 25–26.

                                                        30
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it may not do so when assigning reasonable rates.202 Rather, “in order to comply with precedent,

the district court must award rates compatible with competent, trustworthy evidence of the

market.”203 When there is competent evidence submitted from both parties, the court may adopt

one party’s position, “arrive[] at a compromise,” or “set the rates according to other competent

market evidence.”204 If the court has no adequate evidence before it, only then “may the court, in

its discretion, use other relevant factors, including its own knowledge, to establish the rate.”205

            Both parties have submitted evidence showing reasonable rates in Salt Lake City, and

neither party objects to the other’s evidence. UPHE’s expert testifies that he conducted an

informal survey “of attorneys in [his] firm who are [CAA] specialists and . . . colleagues in SLC

who do [CAA] work,” and found their rates “range from $390/hour to $475/hour.”206 He also

opines that “the rates typically charged in the Salt Lake legal market . . . range from $200/hour to

$650/hour” for complex commercial litigation.207 Specifically, he testifies that most “first chair

lawyers” in “complex commercial litigation . . . charge between $500/hour and $550/hour,”208

“young partners and associates doing support work for complex commercial litigation . . . range

from $215/hour to $325/hour,”209 and “[t]he rate charged for paralegals in this community for

this type of work . . . ranges from $140/hour to $185/hour.”210




202
      Case, 157 F.3d at 1256.
203
      Id.
204
      Id. at 1257.
205
      Id. (citation omitted).
206
      Dkt. 176-7 (Haley Decl.) at 6.
207
      Id.
208
      Id. at 8.
209
      Id. at 9.
210
      Id.

                                                   31
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           Defendants submit a declaration from one of their attorneys211 and cite to various

documents from local cases212 to argue the legal rates in Salt Lake City range from $250 to $385

for senior attorneys, $150 to $200 for associates, and $50 to $60 for paralegals.213 Defendants

recognize, however, that rates may be higher when prevailing attorneys “have demonstrated

extensive experience in a needed area of law.”214

           Having carefully reviewed the evidence from the parties, the court finds the following

ranges are reasonable. A reasonable hourly range for a CAA specialist is between $390 and

$475 because Defendants provide no evidence to contradict Haley’s credible testimony that this

is the going rate for CAA specialists in Salt Lake City.215 Concerning the other rates, the court is

not convinced either party’s evidence conclusively demonstrates a reasonable range. Rather, the

parties provide credible evidence that the hourly rate for senior attorneys ranges between $250

and $550. They also demonstrate the hourly rate for junior attorneys ranges between $150 and

$325, and the hourly rate for paralegals ranges between $50 and $185. The court addresses

UPHE’s proffered rates in light of these reasonable ranges.

                                 2. Salt Lake City Rates Apply

           Defendants argue Laramie, Wyoming rates should apply to Attorney Zars.216 They

support their argument with a case from the D.C. Circuit, Davis County Solid Waste




211
      Dkt. 1801-1 (Cannon Decl.).
212
  Defendants cite documents from Cinemapub, L.L.C. v. Petilos, Case No. 2:16-cv-00318-DN, and Utah
Republican Party v. Herbert, Case No. 2:14-cv-00876-DN. See Dkt. 180 at 24–25.
213
      See Dkt. 180 at 24; Dkt. 180-1 (Cannon Decl.) ¶ 5.
214
   See Dkt. 180 at 24–25 (discussing Animal Legal Defense Fund v. Herbert, Case No. 2:13-cv-00679-RJS, and
Plascencia v. City of St. George, 2013 WL 4084099 (D. Utah Aug. 13, 2013)).
215
   See Plascencia, 2013 WL 4084099, at *2 (concluding a proffered rate was reasonable because it was supported
with credible evidence, and the opposing party did “not present any evidence to the contrary.”).
216
      Dkt. 180 at 25.

                                                           32
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Management and Energy Recovery Special Service District v. E.P.A.217 But Defendants’

argument is meritless because they do not meet the standard outlined in Davis County and ignore

the governing Tenth Circuit standard.

            In Davis County, the D.C. Circuit carved out an exception to the general rule “that the

location of the court deciding the case is normally the relevant market.”218 That exception

permits courts to apply the out-of-state market rate “where the bulk of the work is done outside

the jurisdiction of the court and where there is a very significant difference in compensation

favoring [the local market].”219 Defendants do not cite a case from the Tenth Circuit adopting

this exception, and the court is not aware of one. Assuming this standard applies, however,

Defendants’ argument falls short because they offer no evidence concerning the differences—let

alone a very significant difference—between Salt Lake City rates and Laramie rates.

            More importantly, the Tenth Circuit permits the court to apply out-of-state rates if “the

subject of the litigation is so unusual or requires such special skills that only an out-of-state

lawyer possesses.”220 Defendants do not address or apply this standard.221 Further, the evidence

before the court demonstrates there are likely attorneys in Salt Lake City capable of handling this

case for UPHE.222 Accordingly, the court applies Salt Lake City rates to Attorney Zars.223




217
      169 F.3d 755 (D.C. Cir. 1999).
218
      Id. at 758.
219
      Id.
220
      Jane L., 61 F.3d at 1510 (quotation marks and citation omitted).
221
      See Dkt. 180 at 23–26.
222
   See Dkt. 176-7 (Haley Decl.) at 6 (“I conducted an informal survey of attorneys in my firm who are Clear Air Act
specialists and spoke with some of my colleagues in SLC who do Clean Air Act work.”).
223
   See Lippoldt v. Cole, 468 F.3d 1204, 1225–26 (10th Cir. 2006) (concluding a district court did not abuse its
discretion by applying local rates when the “[p]laintiffs failed to establish that the subject of the litigation was so
unusual that only an out-of-state attorney could present the case.”).

                                                            33
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                                  3. UPHE’s Reasonable Rates

            Defendants argue UPHE’s proffered rates are unreasonable for reasons specific to each

attorney and paralegal. Before the court considers those specific arguments, it first addresses the

common argument Defendants rely on to challenge UPHE’s proffered rates: that attorneys who

are “solo practitioners”—for no other reason—are not entitled to the same rates as attorneys

working for law firms.224 The court “find[s] troubling [Defendants’] repeated insinuations . . .

that [UPHE’s attorneys’] hourly fee rate[s] should be reduced because . . . [they are] solo

practitioner[s],” and rejects them.225

            The court’s duty is to ensure the hourly rates it awards UPHE “reflect the prevailing

market rates in the relevant community.”226 It is arguable that the “relevant community” could

consist of attorneys who are solo practitioners or attorneys working at law firms.227 But

Defendants make no attempt to offer a coherent reason why an attorney’s status as a solo

practitioner should impact the court’s analysis.228 Nor do they offer evidence concerning solo

practitioner rates in Utah or elsewhere.229 In short, the court rejects Defendants’ argument as

meritless.

            The court now turns to the specific proffered rates for UPHE’s attorneys and paralegals.

Defendants argue Attorney Zars’s rate of $475 an hour is unreasonable because “he has not built




224
      See Dkt. 180 at 23–26.
225
      Porzig v. Dresdner, 497 F.3d 133, 143 n.6 (2d Cir. 2007).
226
      Jane L., 61 F.3d at 1510 (quotation marks and citation omitted).
227
   See McDonald ex rel Prendergast v. Pension Plan of the NYSA-ILA Pension Tr. Fund, 450 F.3d 91, 97 n.6 (2d
Cir. 2006) (“Working as a solo practitioner may be relevant to defining the market, . . . but it would be error to use
an attorney’s status as a solo practitioner as an automatic deduction or shortcut for determining the reasonable
hourly rate.”).
228
      See Dkt. 180.
229
      See id.

                                                           34
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his practice as lead counsel for [CAA] citizen suits.”230 UPHE disagrees with Defendants’

representation and maintains Attorney Zars’s rate is reasonable because he has extensive CAA

experience and provided quality representation that resulted in the success of UPHE’s claims.231

The court agrees with UPHE.

            As stated above, the reasonable hourly rate for a CAA specialist in Salt Lake City ranges

from $390 to $475. Attorney Zars is a CAA specialist who provided excellent work on behalf of

his client. Specifically, Attorney Zars has practiced environmental law since 1986.232 In 1992,

he began practicing “as a solo practitioner, focusing on the enforcement of the [CAA] and other

laws in the public interest.”233 His résumé shows he has extensive trial experience litigating

CAA cases and similar public-health interest cases.234 Further, the court agrees with UPHE’s

expert that “[t]his case was a novel citizen’s suit that was vigorously defended and Zars, Hays

and their team achieved a fabulous result for their clients.”235 Indeed, Attorney Zars consistently

submitted high-quality work throughout the litigation. Accordingly, the court awards him an

hourly rate of $475.

            Next, Defendants argue Attorney Hays’s rate is unreasonable because he “was brought in

as co-counsel for the bench trial to determine damages.”236 Defendants do not challenge his

credentials as a CAA specialist or experienced attorney,237 but UPHE justifies Attorney Hays’s


230
      Id. at 25.
231
      See Dkt. 183 at 4–6.
232
      Dkt. 176-1 (Zars Decl.) ¶ 4.
233
      Id. ¶ 5.
234
   See Dkt. 176 (Zars Decl.), Ex. 1 at 6–7; see also Dkt. 183 at 5 (“The facts are that both Mr. Zars and Mr. Hays
each have more than 30 years of air pollution litigation experience, including more than 20 separate [CAA]
enforcement cases in which each was either lead or co-lead counsel.”).
235
      Dkt. 176-7 (Hayes Decl.) at 10.
236
      Dkt. 180 at 25.
237
      See id.

                                                         35
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rate by pointing to his credentials and experience.238 The court concludes Attorney Hays’s rate

should be at the low end of the CAA specialist range because both parties submit evidence

showing “second” chair attorneys in Salt Lake City generally charge a lower rate than the “first”

chair attorneys.239 Attorney Hays is indisputably a CAA specialist.240 But he was also a

“second” chair attorney in this case, having begun work on the case during its final stages and

participating in the trial.241 The court awards him a reduced hourly rate of $390.

            Defendants argue Attorney Dutton’s proffered hourly rate of $240 is unreasonable

because she has “little litigation experience” and acted only as local counsel.242 But Defendants

do not support their assertions with evidence that Attorney Dutton’s rate is unreasonable when

compared to the prevailing market rates for attorneys with similar experience performing similar

work.243 UPHE’s expert, however, testifies that “[t]he hourly rates charged for . . . support work

for complex commercial litigation . . . range from $215/hour to $325/hour.”244 The work

Attorney Dutton performed was the type of necessary support work generally billed within that

range.245 Further, she makes up for her apparent lack of litigation experience with knowledge of

environmental laws and air pollution testing.246 Thus, the court awards her an hourly rate of

$240.



238
      See Dkt. 183 at 5–6.
239
      See Dkt. 176-7 (Hayes Decl.) at 9; Dkt. 180-1 (Cannon Decl.) ¶ 5.
240
   See Dkt. 176-3 (Hays Decl.), Ex. 1; Dkt. 183 at 6 (“Mr. Hays has been attorney of record in at least 32 federal
cases involving the [CAA].”).
241
      See Dkt. 176-3 (Hays Decl.), Ex. 2.
242
      Dkt. 180 at 26.
243
      See id.
244
      Dkt. 176-7 (Haley Decl.) at 9.
245
      See Dkt. 176-2 (Dutton Decl.), Ex. 2.
246
      See Dkt. 176-2 (Dutton Decl.) at 5–6.

                                                          36
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            Defendants maintain Attorney Barbanell’s proffered rate of $325 for legal research is

“excessive.”247 But they do not support their argument with reasons. Rather, they recognize that

Attorney Barbanell “fulfill[ed] an ‘of counsel’ or senior associate role, [has been] licensed since

1998, and has maintained a solo practice, primarily as an environmental consultant in regulatory

affairs.”248 Because of this extensive and relevant experience, the court awards her an hourly

rate of $325.

            Defendants argue Attorney Newman’s “experience and qualifications do not justify” her

proffered rate of $225.249 They do not identify why her experience and qualifications are

insufficient to support her proffered rate. The court, having reviewed her declaration and

résumé, concludes her experience justifies her proffered rate and awards her an hourly rate of

$225.

            Next, Defendants argue Attorney Melver’s proffered hourly rate of $305 “is excessive for

the actual work performed.”250 The court rejects this argument for the same reasons it rejected

Defendants’ arguments concerning Attorney Dutton’s rate. That is, Attorney Melver’s proffered

rate falls within the reasonable range for work of this kind, and her extensive experience with

environmental law supports a higher rate.251 Thus, the court awards Attorney Melver an hourly

rate of $305.252


247
      Dkt. 180 at 26.
248
      Id.
249
      Id.
250
      Id.
251
      See Dkt. 176-4 (Melver Decl.), Ex. 1.
252
   The court notes that the proffered and awarded rates for Attorneys Dutton, Barbanell, Newman, and Melver are
also consistent with their years of experience. Specifically, Attorney Barbanell began practicing law in 1998 and
charges the highest rate of $325. See Dkt. 176-6 (Barbanell Decl.), Ex. 1. Attorney Melver began practicing law in
2005 and charges the next highest rate of $305. See Dkt. 176-4 (Melver Decl.), Ex. 1. Attorney Dutton began
practicing law in 2012 and charges an hourly rate of $240. See Dkt. 176-2 (Dutton Decl.), Ex. 1. And Attorney
Newman began practicing law in 2015 and charges an hourly rate of $225. See Dkt. 176-5 (Newman Decl.), Ex. 1.

                                                        37
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           Lastly, Defendants argue the rates for Paralegals Gallick and Edwards are unreasonable

because Paralegal Gallick “is a student in college” and “Edwards is a second-year law

student.”253 The court disagrees and awards both paralegals their proffered rates.254 The court

awards Paralegal Gallick a rate of $20 an hour because it is well below the rates generally billed

for paralegal services, and he provided necessary services to further this litigation, i.e., reviewing

Defendants’ documents.255 Similarly, the court awards Paralegal Edwards his proffered rate of

$145 an hour, which is on the low end of the rates UPHE maintains is customary for this type of

work in this legal community,256 and which the court finds to be reasonable under the

circumstances.

           To conclude, the court recognizes “the rate charged by the losing counsel may be relevant

in determining a reasonable hourly rate”257 and the awarded rates are higher than the rates

charged by Defendants’ attorneys.258 This is because it is clear UPHE’s attorneys have extensive

experience with environmental law and CAA issues specifically. Defendants, however, have

submitted no evidence showing their attorneys have similar experience that would justify them

charging higher rates within the ranges they maintain are reasonable.259 Therefore, the rates

awarded above are reasonable.


253
      Dkt. 180 at 26.
254
   The court may award fees for “law clerk and paralegal services” if those services are not “normally part of the
office overhead in the area.” Ramos, 713 F.2d at 558. The court awards UPHE its paralegal fees because both
parties submitted evidence showing these fees are customarily charged in Salt Lake City’s legal community. See
Dkt. 176-7 (Haley Decl.) at 9 (“The rates charged by paralegals here are clearly on the low end of the rates
customarily charged for this type of work in this legal community.”); Dkt. 180-1 (Cannon Decl.) ¶ 5 (“[M]y
paralegal’s hourly rate[] [is] $55.”).
255
      See Dkt. 176-1 (Zars Decl.), Ex. 4.
256
      Dkt. 176-7 (Haley Decl.) at 9.
257
      Case, 157 F.3d at 1257 (citation omitted).
258
      See Dkt. 180-1 (Cannon Decl.) ¶ 5.
259
   See Case, 157 F.3d at 1257 (“Lawyers working outside their fields of expertise may deserve an hourly fee lower
than their normal billing rate because of their lack of experience in the [relevant] field.”) (citation omitted).

                                                         38
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           Based on the foregoing, the lodestar in this matter is $897,984.50 as detailed below:

                       Name                        Hours        Rates          Total
                       Attorney Zars               1,620.9      $475           $769,927.50
                       Attorney Dutton             46           $240           $11,040
                       Attorney Newman             50.3         $225           $11,317.50
                       Attorney Hays               163.4        $390           $63,726
                       Attorney Melver             114.8        $305           $35,014
                       Attorney Barbanell          9            $325           $2,925
                       Paralegal Gallick           111.1        $20            $2,222
                       Paralegal Edwards           12.5         $145           $1,812.5

                b. Adjustments

           Having calculated the lodestar at $897,984.50, the court must now determine whether this

amount should be adjusted. “[T]here is a strong presumption that the lodestar figure is

reasonable, but that presumption may be overcome in those rare circumstances in which the

lodestar does not adequately take into account a factor that may properly be considered in

determining a reasonable fee.”260 Defendants argue the court should reduce UPHE’s awarded

fees under two such factors: (1) “what has been awarded in similar cases,”261 and (2) their

“inability to pay.”262 For the reasons explained below, the court concludes that neither factor

justifies reducing the lodestar. Accordingly, UPHE is awarded $897,984.50 in reasonable

attorney fees.

                         i. Case Comparisons

           Defendants argue the court should reduce UPHE’s fees because they are unreasonably

high when compared to similar cases.263 UPHE never responds directly to Defendants’




260
      Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 554 (2010) (quotation marks omitted).
261
      Clayton v. Steinagel, 2012 WL 6624203, at *3 (D. Utah Dec. 19, 2012).
262
      Roth v. Green, 466 F.3d 1179, 1193–94 (10th Cir. 2006).
263
      See Dkt. 180 at 9–12.

                                                          39
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argument.264 Nevertheless, the court has carefully reviewed the cases identified by Defendants

and is unpersuaded that a downward adjustment is warranted.

           Defendants compare this case to four others in an attempt to support their position:

Felders v. Bairett; Utah Republican Party v. Herbert; Animal Legal Defense Fund v. Herbert;

and Cinemapub, L.L.C. v. Petilos.265 The courts in Utah Republican Party and Animal Legal

Defense Fund never ruled on the motions for attorney fees,266 and the court in Cinemapub did

not explain the reasons for its award.267 Accordingly, the only case with some persuasive value

is Felders. But this case is distinct from Felders in significant ways.

           First, the factual record in this case was necessarily far broader than the limited facts

relevant in Felders. The plaintiffs in Felders sued the defendants for events that primarily

revolved around a single traffic stop.268 Here, UPHE sued Defendants for hundreds of discrete

CAA violations that occurred over many years. Accordingly, UPHE’s attorneys are justified in

billing more hours because the research, organization, and planning required to effectively

present and prove Defendants’ CAA violations presented a monumental task.

           Second, this case required resolution of numerous complex legal questions of first

impression. In contrast, the claims in Felders involved well-settled issues that have been

extensively litigated, including claims for unreasonable searches and seizures and racial




264
      See Dkt. 183 at 2–9.
265
      Dkt. 180 at 10–12.
266
   There were two motions for attorney fees in Utah Republican Party. See Case No. 2:14-cv-00876-DN, Dkts.
216, 226. The first motion was withdrawn, see id. Dkt. 231, and the second was stricken because it was untimely.
See Dkts. 228, 229. The parties in Animal Legal Defense stipulated to an award of attorney fees, and the plaintiff
withdrew its motion for attorney fees. See Case No. 2:13-cv-00679-RJS, Dkt. 227.
267
   The Cinemapub court explained the reason for its award was “the evidence presented” and “the arguments and
objections of the parties.” 2018 WL 4621759, at *2 (D. Utah Sept. 26, 2018).
268
      See Case No. 2:08-cv-00993-CW, Dkts. 2, 57, 68.

                                                        40
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profiling.269 This distinction also supports UPHE’s attorneys billing more hours than the

attorneys in Felders.

            Third, the Felders court awarded the plaintiffs their attorney fees after deducting various

amounts from the initial request for time spent on unsuccessful claims, work with public

relations, duplicate work, inherent inefficiencies, and the result achieved.270 Similarly, this court

has reduced UPHE’s fee based on the circumstances of this case. This is sufficient and no

further downward adjustment is required by Felders—a factually and legally distinct case.271

                        ii. Defendants’ Ability to Pay

            A party’s ability to pay is “a relevant factor for the district court to consider in

determining the amount of the fee award.”272 Defendants argue the court should exercise its

discretion to reduce UPHE’s fees because an award of “$1.4 [m]illion in attorneys’ fees will

effectively bankrupt Defendants.”273 But this argument is moot because, as explained below, the

court has reduced UPHE’s total award to $928,602.23, and there is no evidence that Defendants

cannot pay this amount. Nevertheless, UPHE is conducting supplemental discovery concerning

Defendants’ assets in connection with efforts to collect the underlying judgment. The evidence

marshalled in that discovery may result in an evidentiary hearing.274 Defendants may raise

ability to pay fees and costs following that discovery if there exists a reasonable basis for seeking




269
      See id.
270
      See 2017 WL 378467, at *3–4 (D. Utah Jan. 25, 2017).
271
   Cf. Clayton, 2012 WL 6624203 at *3 (“The similarity of these two cases justifies a downward adjustment of the
lodestar amount.”).
272
      Roth, 466 F.3d at 1194.
273
      Dkt. 180 at 29.
274
      See Dkt. 206.

                                                        41
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further relief. The court notes that Defendants have the burden to demonstrate their inability to

pay the fees.

 II.        Costs and Expenses

            In a CAA case, “[t]here are two separate sources of authority [the] court[] use[s] to award

out-of-pocket expenses to a prevailing party.”275 The first is 42 U.S.C. § 7604(d), which permits

the court to award “costs of litigation (including reasonable . . . expert witness fees).” To award

those costs, the court applies “principles and case law” relevant under 42 U.S.C. § 1988 because

the Supreme Court has directed courts to apply those principles in their § 7604(d) analysis.276

The second is 28 U.S.C. §1920, which governs general costs.277 For the sake of clarity, the court

refers to § 7604(d)’s costs as “expenses” and § 1920’s costs as “costs.”278

            “Of course, the burden is on the prevailing plaintiffs to establish the amount of

compensable costs and expenses to which they are entitled.”279 UPHE asks for (1) $70,631.83 in

expenses280 and (2) $7,221.72 in costs.281 For the reasons explained below, UPHE is awarded

$23,851.71 in expenses and $6,766.02 in costs.




275
      Brown v. Gray, 227 F.3d 1278, 1297 (10th Cir. 2000).
276
      Pa., 483 U.S. at 713 n.1.
277
      Brown, 227 F.3d at 1297.
278
      See id. (referring to costs awarded under § 1988 as “expenses”).
279
      Mares v. Credit Bureau of Raton, 801 F.2d 1197, 1208 (10th Cir. 1986) (citations omitted).
  See Dkt. 228-2 (Zars 2d Decl.) at 6 (showing Attorney Zars’s expenses total $59,887.13); Dkt. 176-3 (Hays
280

Decl.) ¶ 9 (“My travel expenses for three round-trip flights between Seattle and Salt Lake City are $1,257.20.”); Dkt.
176 at 9 (showing Haley’s expert witness fee totals $9,487.50).
281
      Dkt. 228 at 1.

                                                            42
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                a. § 7604(d) Expenses

            UPHE asks for an award of its expenses totaling $70,631.83, which consist of Attorney

Zars’s expenses of $59,887.13,282 Attorney Hays’s expenses of $1,257.20,283 and Haley’s expert

witness fee of $9,487.50.284 Because the standard applicable to Attorneys Zars’s and Hays’s

expenses differs from the standard applicable to Haley’s expenses, the court addresses them

separately.

                          i. Attorney Expenses

            The court should award expenses to the prevailing party if it shows they are (1)

“reasonably necessary” to “furnishing effective and competent representation” and (2) “not

normally absorbed as part of law firm overhead.”285 Such expenses may include “long distance

telephone charges, copying costs,” and travel-related expenses.286 Application of this standard

requires the court to engage in “a factual inquiry into the billing practices of law firms in the

region” to “determine whether such expenses are usually charged separately in the area.”287

            The parties disagree about what constitutes reasonable expenses. UPHE argues Attorney

Zars’s and Hays’s expenses of $61,144.33 are reasonable and supports that amount with a

declaration from Attorney Zars288 and a table detailing his expenses,289 a declaration from




282
      Dkt. 228-2 (Zars 2d Decl.) at 6.
283
      Dkt. 176-3 (Hays Decl.) ¶ 9.
284
      Dkt. 176 at 9.
285
      Ramos, 713 F.2d at 559 (citations omitted).
286
      Id.
287
      Brown, 227 F.3d at 1297 (quotation marks and citation omitted).
288
      See Dkt. 228-2 (Zars 2d Decl.).
289
   UPHE originally filed the table at Dkt. 176-1 (Zars Decl.), Ex. 3, but later filed an amended table distinguishing
expenses from costs. See Dkt. 228-2 (Zars 2d Decl.) at 3–6. The court relies on the amended table for its analysis.

                                                          43
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Attorney Hays,290 and Haley’s expert opinion.291 Defendants argue UPHE’s expenses are

unreasonable because they include non-compensable expenses for travel and “the acquisition,

testing, storage and restoration” of the diesel truck used at trial.292 The court agrees with

Defendants and, as explained below, reduces UPHE’s expenses for unreasonable (1) travel-

related expenses; (2) expenses incurred purchasing, licensing, storing, and restoring the diesel

truck; (3) legal fees; and (4) office expenses.

           First, as explained above, “because there is no need to employ counsel from outside the

area in [this] case[],” travel-related expenses incurred solely because UPHE hired out-of-state

attorneys and paralegals are not reasonable.293 Accordingly, the court excludes UPHE’s

expenses that were incurred because UPHE hired out-of-state counsel, which include charges for

plane tickets,294 bus tickets,295 extra charges for Attorney Zars to bring his bike on the bus,296

gas,297 and hotel rooms.298

           The court does not, however, exclude all travel-related expenses. Rather, it credits UPHE

expenses for travel within Utah299 and travel to Colorado to conduct research300 because they

were incurred—according to Attorney Zars’s billing record—as part of the research and




290
      See Dkt. 176-3 (Hays Decl.).
291
      See Dkt. 176-7 (Haley Decl.).
292
      Dkt. 180 at 27.
293
      Ramos, 713 F.2d at 559.
294
      See Dkt. 228-2 (Zars 2d Decl.) at 4 (“Glen flight to SLC—discovery); Dkt. 176-3 (Hays Decl.) ¶ 9.
295
      See Dkt. 228-2 (Zars 2d Decl.) at 3 (“Travel Greyhound LAR-SLC-LAR RT”).
296
      See id. at 5 (“Greyhound bike charge”).
297
      See id. at 4 (“Auto travel LAR-SLC-LAR (865 mi).”).
298
      See id. at 6 (“Sheraton RZ and GH”).
299
      See id. at 3 (“Travel SLC to Bountiful – SLC (32 mi.)”; “Taxi Layton to Davis Co diesel testing”).
300
      See id. at 4 (“Travel LAR-DEN EPA SIP research (260 mi RT)”).

                                                           44
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discovery process.301 These expenses are reasonable and normally charged to a client. UPHE is

therefore awarded $202.47302 for these travel-related expenses.

           Second, Attorney Zars’s expenses include $23,630.40 for purchasing,303 licensing,304

storing,305 and restoring306 a diesel truck Defendants had illegally modified. The only evidence

UPHE submits to support the reasonableness of this expense is testimony from its expert:

           As part of his request for costs Zars is seeking the difference in value for what he
           paid for the truck and what it is currently valued at plus the cost of restoring the
           pollution control devices that were missing when it was sold by the defendants.
           This seems to me to be a reasonable cost incurred in support of the case, including
           providing the court with a view of the truck and its emission control devices at trial,
           and should be reimbursed by the defendants as part of the award of costs.307

But this testimony neither demonstrates the necessity of these expenses nor that these are the

types of expenses typically charged to a paying client. For example, UPHE never explains why

the Federal Rules of Civil Procedure governing discovery that permit the inspection of

Defendants’ illegally modified vehicles (including by video) were insufficient. Accordingly,

these expenses are excluded because the court cannot conclude they were reasonably necessary

to competently represent UPHE and are the kinds of expenses generally charged to a client.




301
   See Dkt. 176-1 (Zars Decl.), Ex. 2 at 9 (“Meet with Executive Director Tim Wagner at UPHE in a.m. re: case,
facts, options”); Id. at 19 (“Travel to Denver, research Utah SIP dox at EPA, meet with EPA on same”).
  This total comes from five expenses: (1) $16 for “Travel SLC to Bountiful – SLC,” (2) $10 for “Taxi Layton to
302

Davis Co diesel testing,” (3) $130 for “Travel LAR-DEN EPA SIP research,” (4) $21.40 for “Travel to SLC Health
Dept.,” and (5) $25.07 for “SLC-Davis Co Diesel-SLC.” Dkt. 228-2 (Zars 2d Decl.) at 3–4, 6.
  These expenses include: (1) $6,261 for “Purchase truck ($43,000 reduced by $36,739)”; (2) $2,580 for “Albany
303

County sales tax on F250”; and (3) $1,605.47 for “Nat Dyke hours and expenses (truck purchase).” Id. at 3.
  These expenses include: (1) $497.22 for “Albany County license and registration F250”; (2) $40 for “Albany
304

County title F250”; (3) $354.98 for “F250 license fees”; and (4) $310.61 for “F-250 tags.” Id. at 3–5.
305
   These expenses include: (1) $800 for “F-250 storage total for calendar year”; (2) $1,200 for “F-250 storage total
for year”; and (3) $1,380 for “F-250 storage total for year.” Id. at 4–5.
306
   These expenses include: (1) $28.34 for “Travel SLC to Ford Dlr”; and (2) $8,572.78 for “Kenley Ford F-250
restoration.” Id. at 5.
307
      Dkt. 176-7 (Haley Decl.) at 9.

                                                         45
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            The court will award UPHE its other discovery-related expenses. Specifically, Attorney

Zars incurred expenses retaining an expert opinion concerning the modifications to the diesel

truck and conducting tests on the truck,308 retaining expert assistance concerning Defendants’

financials,309 conducting CarFax searches for Defendants’ illegally modified vehicles,310 and

paying the transcriber’s fee when a witness twice failed to show for his deposition.311 Having

reviewed these expenses, the court concludes they were necessary to the successful

representation of UPHE and the type generally charged to a client. Accordingly, UPHE is

awarded $17,028.54 for these expenses.

            Third, Attorney Zars’s expenses include two items that are more properly categorized as

legal fees: (1) $1,250 for “Brit Harmssen – legal research,”312 and (2) $1,351.80 for “Legal fees –

SD subpoena enforcement.”313 UPHE, however, does not submit billing records for either of

these items. There is also no further description of these tasks, including how much time was

spent performing them. Indeed, UPHE never explains who “Brit Harmssen” is, what her

credentials are, or what her rate was. It likewise never details what “subpoena enforcement”




308
    These expenses include: (1) $1,050 for “MSD-Revecorp/SGS truck testing”; (2) $7,719.20 for “MSD-
Revecorp/SGS truck testing”; (3) $962.50 for “MSD-Revecorp-testing consulting”; (4) $437.50 for “MSD-
Revecorp-summary judgment consult”; (5) $175 for “MSD-Revecorp-F250 diesel testing”; (6) $262.50 for “MSD-
Revecorp-finalize expert report”; (7) $171.98 for “Red Lion – MSD”; and (8) $5,099.88 for “MSD-Revecorp trial
expert witness fee.” Dkt. 228-2 (Zars 2d Decl.) at 3–6. The initials “MSD” stand for Dr. Michael St. Denis, who
testified as an expert witness at trial concerning, among other things, the design elements in diesel trucks that are
designed to reduce air pollution, the testing his company ReveCorp conducted on UPHE’s truck that Defendants had
illegally modified, and the negative health effects caused by illegally modified vehicles. See Dkt. 161 at 9–75. His
testimony was necessary to the success of UPHE’s claims.
309
      This expense was $850 for “CBIZ consulting – examination of financials.” Dkt. 228-2 (Zars 2d Decl.) at 4.
  These expenses include: (1) $49.99 for “CarFax 5 VIN searches – DieselSellerz,” and (2) $49.99 for “Carfax- 5
310

VIN searches.” Id. at 3.
  These expenses include: (1) $100 for “Prairie reporting – VDB no show,” and (2) $100 for “Prairie reporting –
311

VDB no show #2.” Id. at 4.
312
      Id. at 3.
313
      Id. at 5.

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entailed. The court therefore excludes these amounts, totaling $2,601.80, because they are not

supported with sufficient records.

           Fourth, Attorney Zars includes $1,773.57 for various office-related expenses, including

copying expenses,314 rent for Attorney Dutton’s office,315 a “[l]egal team lunch,”316 mailing and

serving letters,317 and purchasing supplies for trial exhibits.318 The court excludes the expenses

for Attorney Dutton’s office space and the team lunch because they are clearly expenses that

should be “absorbed in a private firm’s general overhead and for which the firm would not bill a

client.”319 The expenses for serving UPHE’s notice letters on Defendants are also excluded

because it was unnecessary for UPHE to serve these letters, particularly after it had sent them via

certified mail.320 The remaining expenses, $643.57, are reasonable and awarded to UPHE.

           In sum, the court awards UPHE $17,874.58 as its reasonable expenses incurred in this

case.

                         ii. Fees for Fees—Haley’s Expert Witness Fee

           “The Tenth Circuit generally allows recovery of fees for an attorney’s work in seeking

attorney’s fees.”321 This extends to expert fees incurred as part of the fee litigation because they




314
   These expenses include: (1) $56 for “FedEx copies of diesel exhibits”; (2) $19.33 for “FedEx notice letter
copies”; and (3) $205.16 for “EPA UT SIP copies.” Id. at 3–4.
315
      This expense was $600 for “Dutton office rental.” Id. at 3.
316
      This expense was $50 for a “[l]egal team lunch.” Id. at 4.
317
   These expenses include: (1) $105.63 for “USPS notice letter certified”; (2) $45.29 for “USPS supp notice letter
certified”; (3) $280 for “Constable Reitz notice letter service”; and (4) $200 for “Constable Reitz 2d notice letter
service.” Id. at 3–4.
318
   These expenses include: (1) $75 for “Walmart – Ace truck exhibit supplies”; and (2) $137.16 for “Exhibits-
supplies.” Id. at 6.
319
      Ramos, 713 F.2d at 554.
320
      Dkt. 228-2 (Zars 2d Decl.) at 3–4.
321
      Cummins v. Campbell, 44 F.3d 847, 855 (10th Cir. 1994).

                                                            47
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are necessary to satisfy the burden imposed on a prevailing party seeking attorney fees.322

“However, the award of fees for the preparation of the fee application is not without limits.”323

The court should award fees for fee litigation “if the fee petitioner is successful and his claim as

to a reasonable fee is vindicated, since it is the adversary who made the additional work

necessary.”324 That is, “fees for fee litigation should be excluded to the extent that the applicant

ultimately fails to prevail in such litigation.”325

            UPHE asks for $9,487.50 as the expense paid to Haley for his opinion.326 Instead of

challenging the reasonableness of Haley’s fee,327 Defendants argue it should be reduced because

Haley’s “declaration does not adequately support Plaintiff’s request regarding either the

reasonableness of the fees or costs requested in this matter.”328 The court recognizes some

validity to this argument for the reasons explained above, and reduces Haley’s fee pro rata with

the overall reductions addressed above for UPHE’s attorney fees, paralegal fees, and expenses.329

            The court reduces Haley’s fee by the same percent as UPHE’s failure to vindicate its

claim for a reasonable fee. That is, UPHE asked for $1,444,512.83 in attorney fees, paralegal


322
   See Blum, 465 U.S. at 895 n.11 (“To inform and assist the court in the exercise of its discretion, the burden is on
the fee applicant to produce satisfactory evidence—in addition to the attorney’s own affidavits—that the requested
rates are in line with those prevailing in the community for similar services by lawyers of reasonably comparable
skill, experience, and reputation.”); Guardian Life Ins. Co. of Am. v. Wilds, 2014 WL 5293706, at *13 (D. Colo. Oct.
16, 2014) (awarding fees to the prevailing party for the expenses incurred hiring an expert to opine on the
reasonableness of their fee request).
323
      Cummins, 44 F.3d at 855.
324
      Id. (citation omitted).
325
      Comm’r, I.N.S. v. Jean, 496 U.S. 154, 163 n.10 (1990).
326
      See Dkt. 176 at 9.
327
   Haley did not submit a billing record, but he explains that he carefully reviewed the docket and compared it to
UPHE’s billing records, that he discussed the case with Attorneys Zars and Hays, and reviewed fee awards in other
cases. Dkt. 176-7 (Haley Decl.) at 6. He also explains he charged an hourly rate of $575 for his services. Id. at 6–
7. This information shows Haley billed approximately 16.5 hours formulating his opinion. This is reasonable given
the complexity of the case.
328
      Dkt. 180 at 28.
329
      Costs are not included in this analysis because UPHE is awarded its costs below without reduction.

                                                           48
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fees, and expenses.330 The court ultimately awarded UPHE $915,859.08 for these fees and

expenses—a 37% reduction. Accordingly, because UPHE vindicated only 63% of its fee claim,

the court awards it 63% of Haley’s fee, or $5,977.13.

                b. § 1920 Costs

            “For items not reimbursable as attorney’s fees under § 1988, the general costs statute, 28

U.S.C. § 1920, is controlling.”331 Together Federal Rule of Civil Procedure 54(d) and § 1920

define the scope of “costs” that are taxable to the losing party.332 Specifically, “Rule 54(d)

provides that costs—other than attorneys’ fees—should be allowed to the prevailing party,” and

“§ 1920 defines the term ‘costs’ as used in Rule 54(d).”333 Under § 1920, there are six categories

of taxable costs:

            (1) clerk and marshal fees, (2) fees for recorded transcripts necessarily obtained
            for use in the case, (3) expenses for printing and witnesses, (4) expenses for
            exemplification and necessary copies, (5) docket fees, and (6) compensation of
            interpreters and court-appointed experts.334

            As noted above, “[a] prevailing party bears the burden of establishing the costs to which

it is entitled” and that the amount is reasonable.335 If the prevailing party meets its burden, “the

burden shifts to the non-prevailing party to overcome the presumption that these costs will be




330
   UPHE originally asked for $1,376,236.50 in attorneys’ fees; $7,132 in paralegal fees; and $67,910.35 in costs.
See Dkt. 176 at 9. The $67,910.35 figure does not differentiate between expenses and costs. See id. When the court
accounts for the difference between costs and expenses, UPHE’s request was for $61,144.33 in expenses and
$6,766.02 in costs. See Dkt. 228-2 (Zars 2d Decl.) at 6 (showing Zars’s expenses total $59,887.13); Dkt. 176-3
(Hays Decl.) ¶ 9 (showing Hays’s expenses total $1,257.20); Dkt. 228-1 at 3 (indicating the original costs were
$6,766.02).
331
      Ramos, 713 F.2d at 560.
332
      See Stender v. Archstone-Smith Operating Tr., 958 F.3d 938, 941 (10th Cir. 2020).
333
      Id. (quotation marks and citations omitted).
334
      Id. (quotation marks and citations omitted).
335
      Cohlmia v. St. John Med. Ctr., 693 F.3d 1269, 1288 (10th Cir. 2012) (citations omitted).

                                                           49
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taxed.”336 The court has “broad discretion in awarding costs”337 but denying costs to the

prevailing party “is a severe penalty” and must be supported by “some apparent reason.”338 Such

reasons include “when the prevailing party was only partially successful, when damages were

only nominal, when costs were unreasonably high or unnecessary, when recovery was

insignificant, or when the issues were close or difficult.”339

            UPHE originally asked for $6,766.02 in costs.340 Because UPHE did not comply with the

court’s Local Rules by submitting a Bill of Costs, the court ordered it to “file a bill of costs” but

“not [to] submit new costs or fees as part of its bill of costs.”341 Nevertheless, UPHE submitted a

Bill of Costs for $7,221.72.342 Attorney Zars explains the difference in amounts: “[A]s a result

of undersigned counsel’s oversight, several subpoena service fees and copy charges were not

included in UPHE’s original table of costs at Dkt. 176-1. The amount of undercharge was

$455.70.”343 The court excludes the additional $455.70 because the request is untimely and

submitted against the court’s order.344

            Turning to the propriety of the remaining $6,776.02, UPHE’s Bill of Costs appropriately

categorizes them under § 1920 and supports them with evidence, including invoices, receipts,




336
      Id. (quotation marks and citation omitted).
337
      Griffin v. Strong, 827 F. Supp. 683, 689 (D. Utah 1993) (citation omitted).
338
      Bryant v. Sagamore Ins. Co., 618 F. App’x 423, 425 (10th Cir. 2015) (unpublished) (citation omitted).
339
      Id. (citation omitted).
  This amount is the difference between Attorney Zars’s original table, which included expenses and costs, and his
340

amended table submitted with the Bill of Costs, which excluded costs. See Dkt. 228-2 (Zars 2d Decl.) at 6.
341
      Dkt. 227.
342
      Dkt. 228 at 1.
343
      Dkt. 228-1 at 3.
344
   UPHE recognized this possibility: “Undersigned counsel is aware, however, that these costs may be deemed by
the court to be tardy or new and therefore disallowed.” Id.

                                                            50
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and declarations from process servers.345 The court has carefully reviewed UPHE’s costs and

evidence, and concludes the costs are reasonable given the scope and complexity of this case. In

short, UPHE has met its burden.

           Although Defendants challenge the reasonableness of UPHE’s expenses, they never

challenge UPHE’s costs and therefore have not rebutted the presumption that UPHE should

receive its costs.346 Accordingly, the court awards UPHE its costs of $6,776.02.

                                                 CONCLUSION

           For the reasons explained above, UPHE’s Motion347 and Bill of Costs348 are GRANTED

IN PART. In total, UPHE is awarded $928,602.23 in fees and costs, and Defendants are jointly

and severally liable for this amount.349

           SO ORDERED this 26th day of January 2021.

                                                                BY THE COURT:


                                                                _______________________________
                                                                ROBERT J. SHELBY
                                                                United States Chief District Judge




345
    See Dkt. 228. The court observes there are two discrepancies with UPHE’s evidence. First, UPHE shows a cost
of $1,784.85 for “Trial transcripts,” Dkt. 228 at 12, but the invoice for the transcripts shows they cost $1,430.80. Id.
at 22. Second, UPHE shows a cost of $150 for “Cheyenne Lord service fees – Valleywide – AZ,” id. at 23, but the
declarations for serving Lord subpoenas add up to $210. See id. at 32, 36–37. Accounting for these variances,
UPHE’s costs should be reduced by $294.05. The court does not do this, however, because it construes these
expenses as part of the $455.07 reduction addressed above.
346
      See Dkt. 180 at 27.
347
      Dkt. 176.
348
      Dkt. 228.
349
     With the court’s permission, UPHE submitted a Supplemental Reply in Further Support of its Motion for Costs
and Fees. See Dkt. 185; Dkt.186. In the Supplemental Reply, UPHE moved the court to order that the awarded fees
and costs be “nondischargeable in bankruptcy.” Dkt. 186 at 4. The court denies UPHE’s request because UPHE did
not raise the issue in its Motion, and the request is procedurally improper. See DUCivR 7-1(b)(1)(A) (“No motion
. . . may be included in a response or reply memorandum.”).

                                                          51
